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                      EXHIBIT 2
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NSO Group/Q Cyber
Aaron Lukken <lukken@vikinglaw.us>                                                                                         Wed, Feb 19, 2020 at 8:03 AM
To: Mishpatit@court.gov.il

 Dear Colleagues:

 Several weeks ago, I submitted two requests pursuant to Article 5(b) of the Hague Service Convention (see attached here):


                Q Cyber Cooley ISR Hague Forms Art. 5(b).pdf


                NSO Group Cooley ISR Hague Forms Art. 5(b).pdf


                Cooley ISRx2 UPS delivery 12-8-19.pdf

 At my request, the Administration appointed Mr. Eitan Newman and his company to effect service on the two defendants,
 and he did so on December 17, later providing the appropriate documentation to your office for the issuance of Article 6
 Certificates:

                POSx2.pdf

 To date, the Certificates have still not been issued, so the litigation underway in United States District Court is at a
 standstill; causing significant consternation to the judge. Accordingly, I must inquire as to when we might expect the
 issuance of the appropriate Certificates. Please advise me?

 Many thanks,
 Aaron

 ------------------------
 Aaron Lukken
 Attorney, Managing Member
 Viking Advocates, LLC
 Author of The Hague Law Blog
 Visit my LinkedIn profile here
 O/M: +1-816-200-1383

 Disclaimers: (1) Email is not a secure medium of communication. While this is common knowledge, we tend to forget, so please let this serve as a reminder
 that emails can be intercepted-- simple as that. If you do not want to communicate with me by email, then we can utilize my Clio portal. (2) If you are not the
 correct recipient, please let me know that you have received this message in error. (3) Save a tree! Don't print this unless it is absolutely necessary.
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NSO Group/Q Cyber
Aaron Lukken <lukken@vikinglaw.us>                                                                                            Tue, Mar 3, 2020 at 1:24 PM
To: Mishpatit@court.gov.il

 Please advise me as to the status of the attached requests, which my agent completed upon your authorization and
 documented for your office in December.

 Many thanks,
 Aaron
 ------------------------
 Aaron Lukken
 Attorney, Managing Member
 Viking Advocates, LLC
 Author of The Hague Law Blog
 Visit my LinkedIn profile here
 O/M: +1-816-200-1383

 Disclaimers: (1) Email is not a secure medium of communication. While this is common knowledge, we tend to forget, so please let this serve as a reminder
 that emails can be intercepted-- simple as that. If you do not want to communicate with me by email, then we can utilize my Clio portal. (2) If you are not the
 correct recipient, please let me know that you have received this message in error. (3) Save a tree! Don't print this unless it is absolutely necessary.




 [Quoted text hidden]


  4 attachments
       Q Cyber Cooley ISR Hague Forms Art. 5(b).pdf
       50K
       NSO Group Cooley ISR Hague Forms Art. 5(b).pdf
       50K
       Cooley ISRx2 UPS delivery 12-8-19.pdf
       98K
       POSx2.pdf
       37K
                 Case 4:19-cv-07123-PJH Document 29-7 Filed 03/09/20 Page 4 of 12




NSO Group/Q Cyber
‫< שירי פרלמוטר‬Shirip@court.gov.il>                                                                 Wed, Mar 4, 2020 at 3:31 AM
To: "lukken@vikinglaw.us" <lukken@vikinglaw.us>
Cc: Gil Orion <gorion@fbclawyers.com>, ‫< ימית עוקב‬yamits@court.gov.il>


 Dear Mr. Lukken,



 On February 25, 2020, the Oﬃce of Court Administra on relayed a le er, in accordance with Ar cle 4 of the Hague Conven on to
 Mr. Gil Orion, the a orney for Facebook in Israel.



 Warm regards,



 Shiri




 Shiri perelmu er

 Manger of the legal assistance to Foreign countries|General Counsel's Oﬃce|Administra on of courts

 shirip@court.gov.il ,Foreign.countries@court.gov.il




 From: Aaron Lukken [mailto:lukken@vikinglaw.us]
 Sent: Tuesday, March 03, 2020 9:24 PM
 To: ‫לשכת היועץ המשפטי‬
 Subject: Re: NSO Group/Q Cyber


 Please advise me as to the status of the attached requests, which my agent completed upon your authorization and
 documented for your office in December.



 Many thanks,

 Aaron
                    Case 4:19-cv-07123-PJH Document 29-7 Filed 03/09/20 Page 5 of 12




NSO Group/Q Cyber
Aaron Lukken <lukken@vikinglaw.us>                                                                  Wed, Mar 4, 2020 at 5:19 AM
To: ‫< שירי פרלמוטר‬Shirip@court.gov.il>
Cc: Gil Orion <gorion@fbclawyers.com>, ‫< ימית עוקב‬yamits@court.gov.il>

 Article 4 specifies that the Central Authority shall inform the applicant of its objections to the form of the request. I am the
 applicant-- not Mr. Orion. Please advise me of any discrepancy.

 ---------------------------------------
 Aaron Lukken, Attorney
 Author of haguelawblog.com
 Viking Advocates, LLC
 +1 816 200-1383
 (Sent from my mobile, so please forgive typos and brevity.)
 [Quoted text hidden]
                     Case 4:19-cv-07123-PJH Document 29-7 Filed 03/09/20 Page 6 of 12




NSO Group/Q Cyber
‫< שירי פרלמוטר‬Shirip@court.gov.il>                                                                      Wed, Mar 4, 2020 at 8:16 AM
To: Aaron Lukken <lukken@vikinglaw.us>
Cc: Gil Orion <gorion@fbclawyers.com>, ‫< ימית עוקב‬yamits@court.gov.il>


 Dear Mr. Lukken,



 A copy of the le er, dated February 25, 2020 is a ached. The Ar cle 4 deﬁciencies, as referenced in the le er, are:



 1.      The iden ty of the speciﬁc addressee; and,

 2. The par culars of the par es - including their full informa on, names, addresses, telephone numbers and email addresses of
 each party.

 3.

 The applica on must be completed and resubmi ed, in order for us to process the request for service in accordance with the
 regula ons.



 Sincerely,



 Shiri




 Shiri perelmu er

 Manger of the legal assistance to Foreign countries|General Counsel's Oﬃce|Administra on of courts

 shirip@court.gov.il ,Foreign.countries@court.gov.il



 From: Aaron Lukken [mailto:lukken@vikinglaw.us]
 Sent: Wednesday, March 04, 2020 1:19 PM
 To: ‫שירי פרלמוטר‬
 Cc: Gil Orion; ‫ימית עוקב‬
 Subject: Re: FW: NSO Group/Q Cyber


 Article 4 specifies that the Central Authority shall inform the applicant of its objections to the form of the request. I am the
 applicant-- not Mr. Orion. Please advise me of any discrepancy.

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 [Quoted text hidden]
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                  Case 4:19-cv-07123-PJH Document 29-7 Filed 03/09/20 Page 8 of 12
                                                               [emblem:]
                                                                ISRAEL

                                                  ADMINISTRATION OF COURTS
                                                         [bilingual text]
Office of the Legal Adviser                                                                                               [bilingual text]

Legal Assistance to Foreign Countries                                                                                     [bilingual text]

                                                                                                                       February 25, 2020

Attn
Dr. Gil Orion, Adv.
Fischer Behar Chen Well Orion & Co.                                                                    At email gorion@fbclawyers.com

Hello,

                                            Re: Response to your letter dated 02/09/2020

In accordance with section 4 of the Hague Convention regarding the disclosure of documents of the year 1965 (hereinafter – “the
Regulations”), we have examined the accompanying form for the motion to disclose, and saw that the following details, required in
accordance with a form attached to the Hague Convention, are missing:

    1.   Identity of the specific recipient.
    2.   Identity of the parties, including their full information – full name, full address, telephone number and email address.

We ask that the signatory of the motion to disclose complete the abovementioned details on the form attached to the disclosure, so that
the motion to disclose could be handled in accordance with the Regulations.



                                                                                               Kind regards,

                                                                                                [signature]
                                                                                             Shiri Perelmutter

                                                                       Legal Assistance to Foreign Countries Department Director

                                                                                         Administration of Courts


Cc: Attorney Barak Lezer, Legal Adviser, The Administration of Courts.




                                          22 Kanfey Nesharim St., Jerusalem 9546436, Israel
                                                            [bilingual text]
                                           Tel.: +972 XX-XXXXXXX      Fax: +972 XX-XXXXXXX
                                                E-mail: Foreign.Countries@court.gov.il
                                                          - Emails preferred
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                    Case 4:19-cv-07123-PJH Document 29-7 Filed 03/09/20 Page 10 of 12




NSO Group/Q Cyber
Aaron Lukken <lukken@vikinglaw.us>                                                                                           Wed, Mar 4, 2020 at 8:49 AM
To: ‫< שירי פרלמוטר‬Shirip@court.gov.il>
Cc: Gil Orion <gorion@fbclawyers.com>, ‫< ימית עוקב‬yamits@court.gov.il>

 I am thoroughly confused, and must question whether we are discussing the same requests. Both addressees are clearly
 identified: (1) Q Cyber Technologies Limited, and (2) NSO Group Technologies Limited.

 Moreover, in nearly seven years of submitting such requests to Hague Central Authorities worldwide-- including the
 Administration of Courts (previously the Directorate of Courts)-- I have never been asked to include addresses, telephone
 numbers, or email addresses for the parties except in the addressee field on page one.

 Is this a new requirement set by Israel alone?

 ------------------------
 Aaron Lukken
 Attorney, Managing Member
 Viking Advocates, LLC
 Author of The Hague Law Blog
 Visit my LinkedIn profile here
 O/M: +1-816-200-1383

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 correct recipient, please let me know that you have received this message in error. (3) Save a tree! Don't print this unless it is absolutely necessary.




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                   Case 4:19-cv-07123-PJH Document 29-7 Filed 03/09/20 Page 11 of 12




NSO Group/Q Cyber
‫< שירי פרלמוטר‬Shirip@court.gov.il>                                                                   Thu, Mar 5, 2020 at 4:00 AM
To: Aaron Lukken <lukken@vikinglaw.us>
Cc: Gil Orion <gorion@fbclawyers.com>, ‫< ימית עוקב‬yamits@court.gov.il>


 Dear Mr. Lukken,

 The required details are listed on the model form (the top sec on of p. 1 and p. 4) recommended by the Permanent Bureau of the
 Hague Conference on Private Interna onal Law (the Service Conven on operates under the auspice of this body).

 [Quoted text hidden]
                   Case 4:19-cv-07123-PJH Document 29-7 Filed 03/09/20 Page 12 of 12




NSO Group/Q Cyber
Aaron Lukken <lukken@vikinglaw.us>                                                                 Thu, Mar 5, 2020 at 4:10 AM
To: ‫< שירי פרלמוטר‬Shirip@court.gov.il>
Cc: Gil Orion <gorion@fbclawyers.com>, ‫< ימית עוקב‬yamits@court.gov.il>

 Again, the addressees were clearly identified, with address information on page one; the exact same information is
 included on page three. Are we discussing the same requests? This information is not missing.

 Moreover, page four makes no mention of a requirement that extensive contact information be included in the "Particulars
 of the parties" section. Indeed, the French heading for that section indicates only that their identities are required. I have
 never been asked for this information by your office or any other Central Authority.

 ---------------------------------------
 Aaron Lukken, Attorney
 Author of haguelawblog.com
 Viking Advocates, LLC
 +1 816 200-1383
 (Sent from my mobile, so please forgive typos and brevity.)
 [Quoted text hidden]
